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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JOEL PATTERSON, et ai.,
Appellants,

v. Civil No. 3:21¢v167 (DIN)

MAHWAH BERGEN RETAIL GROUP, INC.
Appellee.

ORDER
(Scheduling Oral Argument; Requiring Additional Briefing)

This matter comes before the Court for scheduling purposes. After conferring with the
parties, the Court hereby SCHEDULES oral argument in this Bankruptcy Appeal to occur on
December 20, 2021, at 2:00 p.m., in Courtroom 6300 of the Richmond Courthouse.

Further, the Court ORDERS that the parties shall file a supplemental brief not exceeding
twenty (20) pages within ten days of the entry hereof that addresses the following three points:

1. Whether any similarities exist between this appeal and the issues in the pending

appeal of In re Purdue Pharma, L.P., et al., 7:21¢v08271-CM, in the Southern
District of New York and, if so, what — if any — impact the rulings in that case
may have on this case in terms of persuasive authority;

2. Each law firm involved in this appeal shall state the total amount of fees approved

for their firm in this Bankruptcy Proceeding to date, along with the following:
(a) the highest non-blended hourly rate approved to be paid to an attorney in their
firm for this proceeding; (b) the name of the attorney for the highest non-blended

rate; and (c) the amount of the law firm’s total approved fee that is based on that
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attorney’s work. The Court intends to address the fees approved in this case
during oral argument; and

The propriety of venue in the Richmond Division of the Eastern District of

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Virginia for this Bankruptcy Proceeding.
The Court further orders that all fee petitions in this case going forward shall be
submitted to the undersigned, not the Bankruptcy Court, for resolution.
The Clerk is directed to file this Order electronically, notify all counsel of record and
forward a copy to the chambers of United States Bankruptcy Judge Kevin R. Huennekens.

It is so ORDERED.

 

/s/
David J. Novak i )
United States District Judge

 

Richmond, Virginia
Date: November 4, 2021

 
